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NOT FOR PUBLICATION

                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY
____________________________________
                                     :
UNITED STATE OF AMERICA,             :
                                     :
                  Plaintiff,         :
      v.                             :  CRIM ACTION NO. 09-932 (JLL)
                                     :
ANTHONY SUAREZ and                   :
VINCENT TABBACHINO                   :  ORDER
                  Defendants.        :
____________________________________:

LINARES, District Judge.

       This matter comes before the Court on motions in limine filed (1) Defendant Suarez

(CM/ECF No. 37) and (2) Defendant Tabbachino (CM/ECF No. 42). Defendant Tabbachino has

joined each in limine motion filed on behalf of Defendant Suarez. For the reasons set forth on

the record on September 29, 2010

       IT IS on this 4th day of October, 2010,

       ORDERED that Defendants’ motion to preclude all government witnesses from opining

on Defendants’ guilt or innocence, or on the controlling law, is GRANTED; and it is further

       ORDERED that the Court RESERVES judgment on Defendants’ motion to classify the

Government as a party-opponent for purposes of Fed. R. Evid. 801(d)(2); and it is further

       ORDERED that Defendants’ motion to introduce extrinsic evidence of bias is

GRANTED; and it is further

       ORDERED that Defendants’ motion regarding references to the undersigned as the

sentencing judge is GRANTED in part and DENIED in part; and it is further

       ORDERED that the Court RESERVES judgment on Defendants’ motion regarding the
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admission of additional portions of recordings pursuant to Fed. R. Evid. 106; and it is further

        ORDERED that Court RESERVES judgment on Defendants’ motion regarding the

spoliation of certain electronic communications; and it is further

        ORDERED that Defendant’s request for a Starks hearing is GRANTED; and it is further

        ORDERED that Defendant Tabbachino’s motion to preclude statements made by

Defendant Tabbachino on July 23, 2009 is DENIED as moot ; and it is further

        ORDERED that Defendant Tabbachino is granted leave to add Annette Tabbachino to

his list of potential witnesses; and it is further

        ORDERED that Defendant Tabbachino’s motion to exclude evidence or reference by the

Government to Defendant Tabbachino’s alleged crimes of “money laundering” is GRANTED.

        SO ORDERED.


                                                                  /s/ Jose L. Linares
                                                                  United States District Judge




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